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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION


  Rapides Parish School Board,

             Plaintiff,                    Case No. 1:24-cv-00567-TAD-JPM

        v.                                     Judge Terry A. Doughty

  United States Department of               Magistrate Judge Joseph H. L.
  Education, et al.,                                Perez-Montes

             Defendants.

               PLAINTIFF ’S MEMORANDUM IN SUPPORT OF
               MOTION TO DELAY EFFECTIVE DATE AND FOR
                      PRELIMINARY INJUNCTION
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                                     INTRODUCTION

         Through the new Title IX rule issued by the Department of Education (ED),

   the Biden administration is forcing schools across the country to embrace a radical

   gender ideology that harms students, teachers, and particularly girls—the very

   group Title IX sought to help. The Rule fundamentally undermines the statute

   Congress enacted fifty years ago.

         Congress enacted Title IX to promote equal opportunity for women and girls.

   The law prohibits educational institutions from discriminating on the basis of sex,

   and its text references the biological, binary reality that a human is either male or
   female. Because there are enduring biological differences between the two sexes,

   Title IX recognizes that schools may separate the sexes to equalize opportunity for

   women and girls and to protect the privacy interests of all. Title IX’s anti-

   discrimination rule differs from Title VII and other antidiscrimination statutes in

   this crucial respect: Title IX does not require blindness to sex. Instead, it requires

   considering sex to promote equal opportunity.

         ED’s new rule rejects that longstanding consensus. See Nondiscrimination on

   the Basis of Sex in Education Programs or Activities Receiving Federal Financial

   Assistance, 89 Fed. Reg. 33,474 (April 29, 2024) (the Rule). The Rule says unlawful

   discrimination “on the basis of sex” includes discrimination based on “sex
   stereotypes,” “sex characteristics,” and “gender identity.” 89 Fed. Reg. at 33,886 (to

   be codified at 34 C.F.R. § 106.10). And when distinguishing between the sexes,

   schools must (absent an agency-sanctioned exception) ignore biology in favor of a

   person’s “sense of their gender.” 89 Fed. Reg. at 33,809; see id. at 33,887 (to be

   codified at 34 C.F.R. § 106.31(a)(2)). On top of that, the Rule threatens free speech

   rights; anyone who fails to speak consistently with the Biden administration’s

   gender ideology may be investigated for “sex-based harassment.” See, e.g., id. at
   33,884, 33,889 (to be codified at 34 C.F.R. §§ 106.2, 06.44(a)).


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         On campus, the ramifications are significant. While restrooms, locker rooms,

   overnight accommodations, and shower facilities may still be nominally sex-specific,

   schools must allow access based on “gender identity.” That means males who iden-

   tify as female will be in girls’ locker rooms. While regulations have long allowed sex-

   specific physical education classes and instruction on “human sexuality” for

   schoolchildren, see 34 C.F.R. § 106.32, gender identity will control there too. That

   means males in girls’ P.E. class and females in boys’ sex-ed. And as much as the

   agency would like to hide it, the same is true of interscholastic sports. A school must

   allow a male who identifies as a girl to try out for the girls’ basketball team because,

   under the Rule, to do otherwise is sex discrimination. 34 C.F.R. § 106.41(a); see

   89 Fed. Reg. at 33,886 (to be codified at 34 C.F.R. § 106.10).

         The Court should delay the Rule’s August 1, 2024, effective date or

   preliminarily enjoin enforcement of its gender identity mandate and definition of

   sex-based harassment. 5 U.S.C. § 705.

                                     BACKGROUND

   I.    Congress enacted Title IX to promote educational opportunities for
         women.

         In 1972, Congress enacted Title IX of the Education Amendments, 20 U.S.C.

   § 1681 et seq., which forbids education programs or activities receiving federal

   financial assistance from discriminating based on sex. As of 1970, just eight percent

   of American women had a college degree, and only 59 percent had graduated from

   high school. See Equal Access to Education: Forty Years of Title IX, U.S. Dep’t Just.

   2 (June 23, 2012), https://perma.cc/3GFD-74YX (“DOJ Equal Access”). Title IX

   provides: “No person … shall, on the basis of sex, be excluded from participation in,

   be denied the benefits of, or be subjected to discrimination under any education
   program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). The



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   statute exempts traditionally single-sex institutions and certain sex-specific

   programs from its requirements. See id. § 1681(a)(5)–(9). Congress peppered the

   statute with explicit references to the biological, binary categories of two sexes and

   included a rule of construction recognizing respect for “personal privacy.” 118 Cong.

   Rec. 5807 (Feb. 28, 1972) (statement of Sen. Bayh); see 20 U.S.C. § 1681.

         Two years later, Congress enacted legislation instructing ED’s predecessor

   agency to promulgate regulations “which shall include with respect to inter-

   collegiate athletic activities reasonable provisions concerning the nature of

   particular sports.” Pub. L. 93-380, § 844, 88 Stat. 484, 612 (1974). Those regulations

   “require[ ]” a school “to provide separate teams for men and women in situations

   where the provision of only one team would not ‘accommodate the interests and

   abilities of members of both sexes.’ ” 40 Fed. Reg. 24,128, 24,134 (June 4, 1975)

   (codified at the equivalent of 34 C.F.R. § 106.41(c)(1)).

         Title IX has been strikingly successful. Women and girls now benefit from

   opportunities to attend college and develop skills associated with competitive

   sports. As of 2009, “87 percent of women had at least a high school education” and

   “28 percent had at least a college degree.” DOJ Equal Access, supra, at 2.

   II.   The Department of Education adds a gender-identity mandate to
         Title IX, destroying women’s equal opportunities.

         In Bostock v. Clayton County, 590 U.S. 644 (2020), the Supreme Court held

   that under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2,

   terminating an employee “simply for being homosexual or transgender” constitutes

   discrimination “ ‘because of … sex.’ ” Id. at 681. The Court said:

         An employer violates Title VII when it intentionally fires an individual
         employee based in part on sex. … If the employer intentionally relies
         in part on an individual employee’s sex when deciding to discharge the
         employee—put differently, if changing the employee’s sex would have




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         yielded a different choice by the employer—a statutory violation has
         occurred.

   Id. at 659–60. The Court recognized that other antidiscrimination laws, such as

   Title IX, were not “before” it, and emphasized that its decision did “not purport to

   address bathrooms, locker rooms, or anything else of the kind.” Id. at 681.

         On his first day in office, President Biden purported to extend Bostock to the

   entire United States Code. He declared that any statutory reference to sex

   discrimination includes gender-identity discrimination “so long as the laws do not

   contain sufficient indications to the contrary.” Exec. Order No. 13,988, 86 Fed. Reg.
   7023, 7023 (Jan. 20, 2021). Disregarding Congress’s “indications to the contrary,”

   the challenged Rule imposes a Title IX gender-identity mandate through two key

   regulatory provisions.

         First, the Rule defines Title IX’s prohibition of “sex-based discrimination” to

   include “discrimination on the basis of sex stereotypes, sex characteristics, … and

   gender identity.” 89 Fed. Reg. at 33,886 (to be codified at 34 C.F.R. § 106.10)

   (emphasis added). ED applies Bostock’s reasoning to Title IX, declaring that

   “discrimination on each of those bases is sex discrimination because each

   necessarily involves consideration of a person’s sex, even if [the word “sex”] is

   understood to mean only physiological or ‘biological distinctions between male and

   female,’ as the Supreme Court assumed in Bostock.” 89 Fed. Reg. at 33,802. As the
   Rule puts it, “sex discrimination” is “any discrimination that depends” even “in part

   on consideration of a person’s sex.” Id. at 33,803.

         Second, the Rule creates a “de minimus harm” standard for sex distinctions:

         In the limited circumstances in which Title IX or this part permits
         different treatment or separation on the basis of sex, a recipient must
         not carry out such different treatment or separation in a manner that
         discriminates on the basis of sex by subjecting a person to more than
         de minimis harm, except as permitted by 20 U.S.C. 1681(a)(1) through
         (9) and the corresponding regulations §§ 106.12 through 106.15,


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         20 U.S.C. 1686 and its corresponding regulation § 106.32(b)(1), or
         § 106.41(b). Adopting a policy or engaging in a practice that prevents a
         person from participating in an education program or activity consist-
         ent with the person’s gender identity subjects a person to more than de
         minimis harm on the basis of sex.

   89 Fed. Reg. at 33,887 (to be codified at 34 C.F.R. § 106.31(a)(2)) (emphasis added).

   Together, sections 106.10 and 106.31(a)(2) create a gender-identity mandate: when

   schools distinguish between male and female students, they must do so based not on

   biological sex, but on “gender identity” (i.e., a person’s subjective “sense of their

   gender,” 89 Fed. Reg. at 33,809). Thus, despite purporting to apply Bostock, the

   Rule undermines the very assumption on which Bostock was based: “that ‘sex’ …

   refer[s] only to biological distinctions between male and female.” 590 U.S. at 655.

         The gender-identity mandate applies in many situations, including where it

   makes the least sense. Rather than cabin the mandate’s scope, the Rule applies the

   gender-identity mandate to longstanding regulations for “separate toilet, locker

   room, and shower facilities,” 34 C.F.R. § 106.33, “[c]ontact sports in physical

   education classes,” lessons on “[h]uman sexuality,” id. § 106.34(a)(1), (2), and inter-

   scholastic sports, id. § 106.41(a). Under the Rule, then, schools must allow biological

   males into female restrooms, locker rooms, and showers. They must allow biological

   males to play against girls in P.E. class athletics. They even have to assign

   biological males to the health class covering the female reproductive system.

         ED suggests that the gender-identity mandate does not apply to sports, but

   the Rule’s text shows that isn’t so. ED cites the exception for subsection (b) of

   § 106.41, which authorizes schools to have “separate teams for members of each sex

   where selection for such teams is based upon competitive skill or the activity

   involved is a contact sport.” See 89 Fed. Reg. at 33,816. But the gender-identity

   mandate still applies to subsection (a) of § 106.41, which prohibits sex
   discrimination “in any interscholastic, intercollegiate, club or intramural athletics



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   offered by a recipient,” and says that “no recipient shall provide any such athletics

   separately on such basis.” 34 C.F.R. § 106.41(a). That is, schools may have girls’

   sports teams, but a male who identifies as female must be treated as a girl and

   allowed on the team. Indeed, in other litigation that is what the Biden

   administration already insists is required. See Compl. (Doc. 1) ¶¶ 100–01.

         The only other areas exempted from the gender-identity mandate in

   § 106.32(a)(2) are 20 U.S.C. § 1681(a)’s exemptions from Title IX’s general

   nondiscrimination rule (e.g., youth service organizations, id. § 1681(a)(6))(2)), and

   single-sex “living facilities,” 20 U.S.C. § 1686. But the Rule interprets “living

   facilities” so narrowly that it covers only “housing” under 34 C.F.R. § 106.32(b)(1)—

   not “toilet, locker room, and shower facilities” under id. § 106.33. So while the Rule

   permits schools to limit dormitories to biological females, it eliminates that same

   option when it comes to other bathrooms and locker rooms, as well as overnight

   accommodations on field trips.

         Finally, the Rule lowers the threshold for actionable harassment. The Rule

   defines “sex-based harassment” as “sexual harassment and other harassment on the

   basis of sex, including on the bases described in § 106.10.” 89 Fed. Reg. at 33,884 (to

   be codified at 34 C.F.R. § 106.2). Compared with the existing interpretation of Title
   IX in Davis v. Monroe County Board of Education, 526 U.S. 629 (1999), the Rule

   creates a “broader standard” for evaluating harassment allegations, 89 Fed. Reg. at

   33,498, and sets a lower threshold for what constitutes a hostile environment:

         Unwelcome sex-based conduct that is sufficiently severe or pervasive,
         that, based on the totality of the circumstances and evaluated
         subjectively and objectively, denies or limits a person’s ability to
         participate in or benefit from the recipient’s education program or
         activity (i.e., creates a hostile environment).

   89 Fed. Reg. at 33,884 (emphasis added); compare with Davis, 526 U.S. at 633
   (harassment must be “so severe, pervasive, and objectively offensive that it


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   effectively bars the victim’s access to an educational opportunity”) (emphasis added).

   Under the Rule, “a single serious incident” may be unlawful harassment, but so is

   “pervasive conduct,” even if not severe. 89 Fed. Reg. at 33,500. And “a complainant

   [need not] demonstrate any particular harm, such as reduced grades or missed

   classes”; any “impact on their ability to participate or benefit from the education

   program or activity” is enough. Id.

          These provisions have serious ramifications for free speech on campus. The

   Biden administration, after all, has repeatedly contended that it is discriminatory

   to fail to use gender-identity-based pronouns when a person wants to be treated as

   the opposite sex. See Compl. ¶ 186; Brief for the United States as Amicus Curiae in

   Supporting Defendant-Appellee and Urging Affirmance at 27–30, Kluge v.

   Brownsburg Cmty. Sch. Corp., 64 F.4th 861 (7th Cir. 2023). This would force staff

   and students to adopt the view that gender identity matters more than sex.

   Cf. United States v. Varner, 948 F.3d 250, 256 (5th Cir. 2020) (gender-identity-based

   pronouns can “convey … tacit approval of the litigant’s underlying legal position”).

   III.   The gender-identity mandate will injure the school board by forcing
          it to risk all federal funds—which are 10 percent of its budget—or
          adopt harmful policies at significant cost.

          Plaintiff Rapides Parish School Board provides public education to 21,000

   students in pre-K through twelfth grade at 42 school campuses. Compl. Ex. 1

   (Doc. 1-1) ¶¶ 4–5. The school board receives federal funding administered by ED,

   including funding under the Individuals with Disabilities Education Act (IDEA) and

   Title I of the Elementary and Secondary Education Act. Id. ¶ 6; Ex. A ¶ 8 & A-1. In

   the 2024 fiscal year, the school board received about $30 million from these and

   other federal funding sources. Ex. A ¶ 7. Federal funds account for around 10

   percent of the school board’s annual budget, Compl. Ex. 1 ¶ 7, and losing eligibility
   for this funding would cause significant financial harm, id. ¶ 9.



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         The school board cannot comply with the Rule without changing its

   longstanding policies and practices. Today, students participate in school activities

   based on sex. Compl. Ex. 1 ¶ 14. That includes, for example, enrollment in sex-

   specific P.E. classes and sports like basketball, cross country, soccer, swimming, and

   track. Id. ¶¶ 14–15. The school board worries that girls will be harmed if they are

   forced to compete in contact sports with boys who identify as girls. Id. ¶ 14. Indeed,

   Louisiana law requires that girls’ sports teams be open to females only. See La.

   Stat. Ann. § 4:444(A) (2022). But under the Rule, the school board would have to let

   males play on girls’ teams and enroll in girls’ P.E. even though girls’ athletic

   opportunities will be undermined and the fairness of women’s sports will be

   jeopardized. Id. ¶ 16. The school board would also have to change its policies and

   practices when it comes to privacy and safety. For example, school board policy

   requires that any search of a student be conducted by a teacher or administrator “of

   the same sex as the student to be searched.” Compl. Ex. 1-A (Doc. 1-2) p.111. It

   would also have to change its practice of limiting facilities designated for “men” or

   “boys” to biological males and facilities designated for “women” or “girls” to

   biological females. Compl. Ex. 1 ¶ 20. The school board does not wish to make any of

   these changes. Id. ¶ 25. But the Rule would force it to do so.

                                   LEGAL STANDARD

         A court may issue a preliminary injunction when a movant shows: (1) a sub-

   stantial likelihood of success on the merits; (2) a substantial threat of irreparable

   harm; (3) that outweighs any harm that will result if the injunction is granted; and

   (4) an injunction is in the public interest. Louisiana v. Becerra, 20 F.4th 260, 262

   (5th Cir. 2021). The same standards apply to “postpon[ing] the effective date of an

   agency action,” 5 U.S.C. § 705, to “prevent irreparable injury,” Wages & White Lion
   Investments, LLC v. FDA, 16 F.4th 1130, 1143 (5th Cir. 2021).


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                                        ARGUMENT

   I.    The school board is likely to succeed on the merits.

         To show a likelihood of success on the merits, the school board “must present

   a prima facie case but need not show that [it] is certain to win.” Janvey v. Alguire¸

   647 F.3d 585, 595–96 (5th Cir. 2011) (cleaned up). The school board is likely to show

   that the Rule is contrary to the statute, inconsistent with the Constitution, and

   arbitrary and capricious. 5 U.S.C. § 706(2).

         A.     The gender-identity mandate is contrary to law.

         Title IX states that “[n]o person in the United States shall, on the basis of sex,

   … be subjected to discrimination under any education program or activity receiving

   Federal financial assistance.” 20 U.S.C. § 1681(a) (emphasis added). Unlike other

   antidiscrimination statutes, Title IX does not require schools to ignore an

   individual’s sex. Instead, Title IX’s text, history, and implementing regulations

   show that Title IX allows and sometimes requires schools to consider it. And that

   means biological sex, not the undefined concepts of “gender identity” or “sex

   stereotypes” that ignore physiology in favor of a person’s “sense of their gender.”

                1.     Statutory text and structure prohibit the agency from
                       transplanting Bostock’s Title VII standard onto Title IX.

         To interpret a statute, courts “begin with the text’s plain meaning,

   ascertained by reference to the particular statutory language at issue, as well as the

   language and design of the statute as a whole.” Allen v. Vertafore, Inc., 28 F.4th

   613, 617 (5th Cir. 2022) (cleaned up). Courts give “terms their ordinary meaning at

   the time Congress adopted them.” Niz-Chavez v. Garland, 593 U.S. 155, 160 (2021).

   As used in Title IX, the phrase “on the basis of sex” refers to the biological binary of

   male and female, not to “an individual’s sense of their gender.” 89 Fed. Reg. at
   33,809. Indeed, Bostock treated the word “sex” in Title VII, 42 U.S.C. § 2000e-2(a),



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   as a reference “only to biological distinctions between male and female,” 590 U.S. at

   655. Bostock concluded that any consideration of sex triggers Title VII’s anti-

   discrimination provision: “if changing the employee’s sex would have yielded a

   different choice by the employer[, ]a statutory violation has occurred.” 590 U.S. at

   659–60 (emphasis added).

         Like the Bostock Court, the Rule assumes that Title IX uses the word “sex” to

   refer to “physiological sex characteristics.” 89 Fed. Reg. at 33,807. It then declares

   that Title IX “clearly encompasses discrimination on the basis of sexual orientation

   and gender identity, given that such bases of discrimination meet the same but-for

   causation test relied upon in Bostock.” Id. at 33,807.

         But Bostock’s logic does not work with Title IX.

         To begin, the text forecloses it. Title IX repeatedly allows schools to consider

   an individual’s sex. The statute permits schools to go from admitting “students of

   one sex” to “students of both sexes.” 20 U.S.C. § 1681(a)(2). It exempts “father-son or

   mother-daughter activities,” while requiring that “if such activities are provided for

   students of one sex, opportunities for reasonably comparable activities shall be

   provided for students of the other sex.” Id. § 1681(a)(8). And the statute must be

   construed to allow “separate living facilities for the different sexes.” Id. § 1686.
         ED tries to have it both ways by inserting the new and atextual “more than

   de minimis harm” standard into its definition of “discrimination.” It reasons that

   Congress intended to “permit” schools to discriminate by inflicting “more than de

   minimis harm” on students in statutorily approved “contexts.” 89 Fed. Reg. at

   33,816; see 89 Fed. Reg. at 33,887 (exempting the regulation for separate “housing”

   from its gender-identity mandate even though, the agency says, “prevent[ing] a

   person from participating in [housing] consistent with the person’s gender identity

   subjects a person to more than de minimis harm on the basis of sex”). At the same
   time, it includes its regulation for separate male and female sports teams, 34 C.F.R.


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   § 106.41(b), even without a statutory basis for allowing so-called de minimis harm

   in that context. And it skates by the implications for individuals who identify as

   “nonbinary” without explaining how the presumptively “more than de minimis

   harm” to them is allowable. 89 Fed. Reg. at 33,818.

         This is not a reasonable reading of the statute. Discrimination is the “failure

   to treat all persons equally when no reasonable distinction can be found between

   those favored and those not favored.” CSX Transp., Inc. v. Ala. Dep’t of Revenue,

   562 U.S. 277, 286 (2011) (cleaned up). The Supreme Court explained in 1975—a few

   years after Title IX’s enactment—that distinctions between males and females are

   problematic when they “have the effect of invidiously relegating the entire class of

   females to inferior legal status without regard to the capabilities of its individual

   members.” Frontiero v. Richardson, 411 U.S. 677, 686–87 (1973) (emphasis added).

   So “discrimination ‘on the basis of sex’ ” requires more than treating males and

   females differently; it means subjecting someone to “less favorable’ treatment” than

   similarly situated persons based on biological status as male or female, Jackson v.

   Birmingham Bd. of Educ., 544 U.S. 167, 174 (2005), where “there is no justification

   for the difference in treatment,” CSX, 562 U.S. at 287. When a difference is justified

   and neither sex is “relegat[ed] … to inferior legal status,” Frontiero, 411 U.S. at
   686–87—such as when sex distinctions protect bodily privacy or ensure safety or

   equal opportunities—no sex discrimination occurs. Cf. Muldrow v. City of St. Louis,

   144 S. Ct. 967, 974 (2024) (a “practice[ ]” that “treats a person worse because of sex”

   is discriminatory under Title VII (cleaned up)). These principles confirm that Title

   IX permits—and even requires—schools to consider and make distinctions based on

   sex. See Neese v. Becerra, 640 F. Supp. 3d 668, 684 (N.D. Tex. 2022).

         Longstanding regulations similarly recognize that Title IX cannot be

   construed to treat all sex distinctions as discrimination. These regulations protect
   (1) sex-education classes designated by sex, 34 C.F.R. § 106.34(a)(3); (2) “separate


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   toilet, locker room, and shower facilities on the basis of sex” so long as the facilities

   are comparable, id. § 106.33; and (3) separate “physical education classes or

   activities during participation in [contact sports],” id. § 106.34(a)(1).

         The Rule leaves all of these provisions in place but subjects them to its

   gender-identity mandate. See 89 Fed. Reg. at 33,887. That means schools can

   maintain separate facilities and classes, but they must be separated by gender

   identity, not sex. That logic works only if “sex” is redefined as “gender identity.”

   E.g., 34 C.F.R. § 106.33 (“separate toilet, locker room, and shower facilities on the

   basis of [gender identity]”). But the agency does not claim that the word “sex” really

   means gender identity, so foundational principles of administrative law prohibit ED

   from defending the Rule on that basis. SEC v. Chenery Corp., 318 U.S. 80, 88

   (1943). The agency must rely on the reasons given in the Rule, see DHS v. Regents

   of the Univ. of Cal., 140 S. Ct. 1891, 1908–09 (2020) (Regents), and the Rule

   assumes that “sex” refers to the biological differences between male and female. See

   89 Fed. Reg. at 33,802, 33,807.

         Indeed, Title IX provides a rule of construction recognizing that schools may

   consider an individual’s sex: “[N]othing [in Title IX] shall be construed to prohibit”

   schools “from maintaining separate living facilities for the different sexes.” 20 U.S.C.
   § 1686 (emphasis added). One cannot apply that rule of construction and conclude

   that Title IX is violated every time “changing the [student’s] sex would have yielded

   a different choice by the [school].” Bostock, 590 U.S. at 659–60. After all, when

   assigning a male student to the men’s dormitory instead of the women’s, the school

   necessarily considers his sex. The Rule relies on Bostock’s but-for test, e.g., 89 Fed.

   Reg. at 33,807, but that test does not work unless the statute at issue makes it

   unlawful to notice sex. Section 1686 disproves ED’s central premise.

         Even if the agency argued that the word “sex” really includes “gender
   identity,” that interpretation would be unreasonable and not entitled to deference.


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   In 1972, “sex” was commonly understood to refer to biological differences between

   male and female. See Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th

   791, 812–13 (11th Cir. 2022) (en banc) (noting “the overwhelming majority of

   dictionaries” in the 1970’s defined “ ‘sex’ on the basis of biology and reproductive

   function”). Sex was described as an “immutable” trait, “determined solely by the

   accident of birth.” Frontiero, 411 U.S. at 686.

         That is how courts have long understood the statute. As the Ninth Circuit put

   it, “actual [physical] differences between the sexes” show that men and women “are

   not similarly situated in certain circumstances,” like athletics, “due to average

   physiological differences.” Clark ex rel. Clark v. Ariz. Interscholastic Ass’n, 695 F.2d

   1126, 1129, 1131 (9th Cir. 1982) (cleaned up). If sex meant gender identity, it would

   make no sense to talk about “average physiological differences.” The court should

   thus reject any suggestion that “sex” includes “gender identity.”

                2.     Historical background and context foreclose a gender-
                       identity mandate that deprives girls of privacy and
                       opportunities.

         Title IX must be “interpreted in its … historical context.” Whitman v. Am.

   Trucking Ass’ns, 531 U.S. 457, 471 (2001). Title IX’s historical backdrop reveals the

   statute’s purpose: to remedy “discrimination against women in education.” Neal v.

   Bd. of Trustees of Cal. State Univs., 198 F.3d 763, 766 (9th Cir. 1999). “Title IX’s

   remedial focus is … on the underrepresented gender; in this case, women.” Cohen v.

   Brown Univ., 101 F.3d 155, 175 (1st Cir. 1996).

         This historical context precludes ED from applying “the same but-for

   causation test relied upon in Bostock.” 89 Fed. Reg. at 33,807. Bostock concluded

   that Title VII forbids sex distinctions in employment because “sex is not relevant to

   the selection, evaluation, or compensation of employees.” 590 U.S. at 660 (cleaned




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   up). But in many circumstances sex is relevant at school. Title IX and its long-

   standing regulations recognize that in two general areas: societal privacy norms

   and physical differences. The Rule itself acknowledges as much by leaving in place

   longstanding allowances for sex-specific restrooms, locker rooms, and showers, P.E.

   classes, athletics, and sex-ed instruction. But it redefines the basis of separation as

   gender identity, not sex.

         Schools cannot provide equal opportunity while ignoring sex.

         First, consider privacy norms. Nearly every civilization recognizes a norm

   against exposing one’s unclothed body to the opposite sex. See Doe v. Luzerne Cnty.,

   660 F.3d 169, 176 (3d Cir. 2011); Brannum v. Overton Cnty. Sch. Bd., 516 F.3d 489,

   495 (6th Cir. 2008); Poe v. Leonard, 282 F.3d 123, 137–38 (2d Cir. 2002). And

   “[s]eparating bathrooms based on sex dates back as far as written history will take

   us.” Adams v. Sch. Bd. of St. Johns Cnty., 3 F.4th 1299, 1328 (11th Cir. 2021)

   (Pryor, J., dissenting) (cleaned up), rev’d en banc, 57 F.4th 791 (11th Cir. 2022).

   Many young women would feel unwelcome at school if the price of entry was

   sharing dorms and locker rooms with males. E.g., MPI App. (Ex. B) 0077–79. So

   eliminating female-only facilities would undermine—not promote—educational

   opportunities for women. No wonder the regulations have long permitted sex-
   specific “toilet, locker room, and shower facilities.” 34 C.F.R. § 106.33.

         But single-sex privacy means nothing if gender identity controls. The interest

   in bodily privacy is sex-specific because of—not in spite of—the anatomical

   differences between male and female. See, e.g., Adams, 57 F.4th at 803 n.6.

   Separating private spaces based on gender identity thus “den[ies] all affected

   persons the dignity and freedom of bodily privacy.” G.G. ex rel. Grimm v. Gloucester

   Cnty. Sch. Bd., 824 F.3d 450, 452 (4th Cir. 2016) (Niemeyer, J., dissenting from

   denial of rehearing). ED cannot reasonably interpret Title IX to require that schools
   open their “toilet, locker room, and shower facilities,” 34 C.F.R § 106.33, to


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   individuals with the anatomy of the opposite sex, whatever their gender identity. It

   is not reasonable to exempt “housing” from the gender-identity mandate but impose

   it on the private facilities that women use when away from home, like showers and

   locker rooms. In all such facilities, anatomy, not “identity,” matters for privacy.

         Second, consider also athletic performance. Males as a class consistently beat

   females in athletic competition because they can run faster and jump higher and

   farther than comparably fit girls and women. MPI App. 0162–67, 0202–07, 0239,

   0302–18. Competing against boys subjects girls to greater risks of injury and more

   severe injury. MPI App. 0204–05, 0244–47, 0410–22. These harms—unfair

   competition and risks of injuries—deprive girls of equal opportunity and are a

   known consequence of eliminating female-only sports. See MPI App. 0053–76

   (discussing and citing evidence).

         These physiological, sex-based differences are the very reason the statute has

   long been interpreted to allow and even require sex-specific sports: women will not

   have equal opportunities if they must compete with men. The law allows, for

   example, physical fitness standards tailored for each sex, see Bauer v. Lynch, 812

   F.3d 340, 350–51 (4th Cir. 2016), or the U.S. Navy to have different standards for

   promoting male officers than for female officers, see Parham v. Hughes, 441 U.S.
   347, 355 (1979). And typically, “effective accommodation” requires equal

   “participation opportunities” and equal “competitive schedules and opportunities for

   men’s and women’s teams.” McCormick ex rel. McCormick v. Sch. Dist. of

   Mamaroneck, 370 F.3d 275, 299–301 (2d Cir. 2004). By thwarting these equal

   opportunities, the Rule conflicts with Title IX’s historical context.

                3.     Constitutional canons of statutory construction require
                       rejecting the Rule.

         Along with Title IX’s plain text and historical context, the gender-identity
   mandate also contradicts constitutional canons of statutory construction.


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                       a)     The agency has not shown clear congressional
                              authorization.

         Federalism principles require that Congress “enact exceedingly clear

   language if it wishes to significantly alter the balance between federal and state

   power.” Sackett v. EPA, 598 U.S. 651, 679 (2023) (cleaned up). Even in interpreting

   “expansive language,” courts “insist on a clear” statement before intruding on the

   states’ traditional police powers, Bond v. United States, 572 U.S. 844, 860 (2014),

   which include public education, Wisconsin v. Yoder, 406 U.S. 205, 213 (1972).

         Moreover, when Congress uses its Spending Clause authority, “Congress
   [must] speak with a clear voice,” Pennhurst State Sch. & Hosp. v. Halderman,

   451 U.S. 1, 17 (1981), to give fund recipients notice of their obligations, see

   Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212, 219 (2022). Congress may

   not use “expansive language” to impose vague conditions. Bond, 572 U.S. at 857–58,

   860. So an agency may not add new conditions unless “Congress itself … ha[s]

   spoken.” Kentucky v. Yellen, 54 F.4th 325, 354 (6th Cir. 2022) (cleaned up).

         The Rule’s gender-identity mandate is not “unmistakably clear in the

   language of [Title IX].” Gregory v. Ashcroft, 501 U.S. 452, 460 (1991) (cleaned up). In

   1972, no one understood “discrimination on the basis of sex” to require schools to

   ignore sex in favor of gender identity. See Adams, 57 F.4th at 815. And Title IX’s

   rule of construction has recognized sex-specific privacy interests for fifty years. 20
   U.S.C. § 1686. The Biden administration’s gender-identity mandate is an unfair

   “surpris[e]” if ever there was one. Pennhurst, 451 U.S. at 25.

                       b)     The agency’s reading of Title IX would exceed
                              Congress’s Spending Clause power.

         The Rule reads Title IX to extend beyond Congress’s Spending Clause power.

   The Rule amounts to “economic dragooning that leaves the States with no real
   option but to acquiesce” to the federal government’s policy. Nat’l Fed’n of Indep.



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   Bus. v. Sebelius, 567 U.S. 519, 582 (2012) (opinion of Roberts, C.J.). The Court

   should avoid that constitutional problem by rejecting the agency’s statutory

   interpretation.

         The Rule’s conditions are unconstitutionally coercive. To be sure, the

   conditional-spending doctrine allows Congress to persuade the states to adopts its

   preferred policies. It can even apply some pressure through financial inducements.

   Id. at 575–85 (opinion of Roberts, C.J.). But that authority ends when “pressure

   turns into compulsion.” Id. at 577–78 (opinion of Roberts, C.J.) (quoting South

   Dakota v. Dole, 483 U.S. 203, 211 (1987)). Compulsion easily describes the Rule.

   The school board has to adopt the Rule’s new gender-identity mandate or give up

   10% of its budget. That coercion is all the more obvious considering that states and

   schools must upend “intricate statutory and administrative regimes [implemented]

   over the course of many decades.” Id. at 581 (opinion of Roberts, C.J.). Requiring

   schools nationwide to give up all federal funding is a “gun to the head.” Id.

         ED also exceeds Congress’s Spending Clause power by claiming that the Rule

   preempts contrary state law. See 89 Fed. Reg. at 33,541–42, 33,885 (to be codified at

   34 C.F.R. § 106.6(b)). Foremost among the relevant state laws are the statutes in

   24 states, including Louisiana, that prohibit schools from opening girls’ athletic
   teams to biological males. See La. Stat. Ann. §§ 4:441–46 (2022); Compl. ¶ 126. For

   two reasons, the Rule cannot preempt those laws. First, the anti-commandeering

   doctrine prevents the federal government from requiring the states to repeal their

   laws. See Murphy v. Nat’l Collegiate Athletic Ass’n, 584 U.S. 453, 470–75 (2018).

   Second, the Spending Clause does not give an administrative agency power to

   authorize schools to violate state law. “Unlike ordinary legislation, which ‘imposes

   congressional policy’ on regulated parties ‘involuntarily,’ Spending Clause

   legislation operates based on consent: ‘in return for federal funds, the [recipients]
   agree to comply with federally imposed conditions.’ ” Cummings, 596 U.S. at 219


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   (quoting Pennhurst, 451 U.S. at 16, 17). There is no “conflict” between following

   state law and declining to accept conditions on federal funding, so there is no

   preemption. Murphy, 584 U.S. at 471; cf. Philip Hamburger, Purchasing

   Submission: Conditions, Power, and Freedom 132 (2021) (arguing that Spending-

   Clause legislation cannot preempt state law).

         These doctrines also illustrate why it is unreasonable to apply Bostock to

   Title IX. Title VII is not Spending Clause legislation, so Bostock did not consider the

   “particularly strict” effect of the clear-notice canon applied to conditions on federal

   spending, Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 305 (1990), or the

   limits of Congress’s spending power.

                       c)     The agency’s interpretation ignores the major-
                              questions doctrine

         The major-questions doctrine also forecloses the Rule’s gender-identity

   mandate. Like HHS’s nationwide ban on evictions, the Labor Department’s nation-

   wide vaccine mandate, or the EPA’s restructuring of the nation’s energy industry,

   imposing a novel gender-identity mandate on all schools and education programs is

   a matter of “staggering” “economic and political significance” for which Congress

   has given ED no clear authority. See, e.g., Biden v. Nebraska, 143 S. Ct. 2355, 2373

   (2023) (cleaned up). The political significance is obvious given recent public
   discourse surrounding sex-specific facilities and allowing men to participate in

   women’s sports. The economic significance is also massive―subjecting schools

   nationwide to the loss of billions of dollars from Title I, IDEA, and the many other

   federal funding programs relied on by states and schools to establish their

   education systems. Courts “presume that Congress intends to make major policy

   decisions itself, not leave those decisions to agencies.” West Virginia v. EPA, 597

   U.S. 697, 723 (2022) (cleaned up). The Rule’s gender-identity mandate is a major
   policy change. It cannot be adopted by an administrative agency like ED.


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                                       *     *      *

         Even where a statute is subject to “competing plausible interpretations,”

   Clark v. Martinez, 543 U.S. 371, 381 (2005), the statute must be construed “to avoid

   not only the conclusion that it is unconstitutional but also grave doubts upon that

   score,” Almendarez-Torres v. United States, 523 U.S. 224, 237 (1998) (cleaned up).

   Here, the clear-statement rule, the limitations on Spending Clause legislation, the

   major-questions doctrine, and constitutional avoidance all foreclose ED’s

   interpretation of Title IX and prove that the Rule is contrary to law.

         B.     The Rule infringes on First Amendment rights.

         Both teachers and students retain their First Amendment freedoms on school

   campuses. Teachers’ speech as citizens on matters of public concern is protected by

   the First Amendment, see Garcetti v. Ceballos, 547 U.S. 410, 417 (2006), and the

   issue of “gender identity” is “a hotly contested matter of public concern,” Meriwether

   v. Hartop, 992 F.3d 492, 506 (6th Cir. 2021).

         Though ED insists that the Rule does not require schools to “infringe” on

   anyone’s First Amendment rights, its assurance rings hollow. See 89 Fed. Reg. at

   33,492, 33,497. The Biden administration has repeatedly claimed that failing to

   endorse a gender identity that differs from sex, including through pronoun usage, is

   discrimination. Compl. ¶¶ 177–87; see 89 Fed. Reg. at 33,504 (citing, inter alia, L.M.
   v. Town of Middleborough, 677 F.3d 29, 38 (D. Mass. 2023)). The Rule says a person

   must be treated according to “gender identity” rather than biological sex, and

   failure to do so imposes “more than de minimis harm.” 89 Fed. Reg. at 33,887. The

   Rule also says anything “unwelcome” that “limits” access to the educational

   program is harassment. Surely anything the Rule considers “more than de minimis

   harm” meets that low threshold. Indeed, under the Rule, such harassment no longer
   needs to be “severe.” “Pervasiveness” is enough, and the use of pronouns is likely to



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   be pervasive given their ubiquity in everyday conversation. Supra at 6–7. So the

   Rule treats it as sex-based harassment to say that there are only two sexes or

   decline to use gender-identity-based pronouns.

         The Rule would force the school board to compel and censor the speech of its

   staff and students. See 89 Fed. Reg. at 33,888 (to be codified at 34 C.F.R. § 106.44(a)

   (schools must investigate any “conduct that may constitute sex discrimination”). As

   to compulsion, this includes mandating that staff and students use gender-identity-

   based pronouns, which “convey a powerful message implicating a sensitive topic of

   public concern.” Meriwether, 992 F.3d at 508; accord Varner, 948 F.3d at 256;

   Vlaming v. W. Point Sch. Bd., 895 S.E.2d 705, 741–42 (Va. 2023). As to censorship,

   the Rule calls for schools to punish speech expressing views about sex and gender

   that the administration dislikes, such as that sex is “immutable,” Frontiero, 411

   U.S. at 686, and that differences between the sexes are “enduring,” United States v.

   Virginia, 518 U.S. 515, 533 (1996); see Meriwether, 992 F.3d at 508. A federal

   agency may not order local governments to violate citizens’ constitutional rights.

          “[R]egulating speech because it is [believed to be] discriminatory or offensive

   is not a compelling state interest.” Telescope Media Grp. v. Lucero, 936 F.3d 740,

   755 (8th Cir. 2019). The federal government lacks any legitimate objective “to
   produce speakers free” from purported bias, Hurley v. Irish-Am. Gay, Lesbian &

   Bisexual Grp. of Bos., 515 U.S. 557, 578–79 (1995), so any nondiscrimination

   interest cannot justify compelling or silencing speech, see 303 Creative LLC v.

   Elenis, 600 U.S. 570, 591–92 (2023). Indeed, this interest is “comparatively weak” in

   the context of education. Meriwether, 992 F.3d at 509–10.

         The Rule also defines sex-based discrimination to include “gender identity,”

   “sex stereotypes,” and “sex characteristics,” but refuses to define those terms. That

   renders the Rule unconstitutionally vague and overbroad. To avoid being labeled a
   harasser or disciplined, reasonable students and staff will refrain from speech at


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   the cost of their First Amendment rights, which creates an “impermissible risk of

   suppression of ideas.” Forsyth Cnty. v. Nationalist Movement, 505 U.S. 123, 129–30

   (1992). Even if the Biden administration’s views on sex and gender are “embraced

   and advocated by increasing numbers of people,” that “is all the more reason to

   protect the First Amendment rights of those who wish to voice a different view.”

   Meriwether, 992 F.3d at 510.

         C.     The Rule is arbitrary and capricious.

         The Rule is arbitrary and capricious for at least seven reasons, each of which
   requires preliminary relief. First, the Rule acts irrationally by resting its gender-

   identity mandate on Bostock, even though Bostock explicitly disclaimed “bathrooms,

   locker rooms,” or other statutory contexts allowing distinctions based on sex. ED

   knew about this problem. See MPI App. 0003–09. The Rule’s pivotal reliance on

   Bostock represents a fundamental error at the heart of the Rule and renders it

   arbitrary and capricious on its face.

         Second, the Rule disregards the privacy interest in not exposing one’s

   unclothed body to persons of the opposite sex. See supra at 14. By putting persons of

   the opposite sex into private spaces, the Rule creates a serious risk that children

   will have to expose their bodies to the opposite sex against their wishes. MPI App.

   0050, 0076–80. ED’s dismissal of privacy interests reflects a lack of reasoned
   decision-making.

         Third, the rule does not provide a reasoned explanation for requiring schools

   to enroll males in girls’ P.E. classes and play on girls’ sports teams despite the

   inherent physical advantages enjoyed by males and the greater risk of injury this

   poses for girls. See supra at 15. The Rule does not even acknowledge that its gender-

   identity mandate applies in these contexts, so it necessarily fails to provide a
   reasoned explanation for doing so. That is arbitrary and capricious.



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         Fourth, ED’s suggestion that schools discriminate based on “sex stereotypes”

   when requiring students to access sex-specific facilities and programs based on their

   sex rather than their gender identity is unreasoned. “[B]iological differences

   between males and females” are “not stereotypes associated with either sex.” Eknes-

   Tucker v. Governor of Ala., 80 F.4th 1205, 1229 (11th Cir. 2023); accord L. W. ex rel.

   Williams v. Skrmetti, 83 F.4th 460, 484 (6th Cir. 2023). ED fails to give a reasoned

   explanation for treating biological differences as if they were sex stereotypes within

   Price Waterhouse v. Hopkins, 490 U.S. 228 (1989) (plurality), despite comments

   bringing that problem to its attention. See MPI App. 0014–15.

         Fifth, ED ignored the effect of its Rule on school policies that require staff to

   conceal a child’s request to be treated as the opposite sex from the child’s parents.

   The notice of proposed rulemaking, 87 Fed. Reg. 42,390 (July 12, 2022), favorably

   cited two such policies, see 89 Fed. Reg. at 33,709, and the notice-and-comment

   process made the agency aware of this threat to parental rights, see MPI App. 0035–

   48. To comply with the APA, an agency must “consider and respond to significant

   comments” like these. Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). Yet the

   Rule says nothing about the parental-exclusion policies that it seems to endorse. 89

   Fed. Reg. at 33,709. By “entirely fail[ing] to consider [this] important aspect of the
   problem,” Motor Vehicle Mf’rs Ass’n v. State Farm Auto Mut. Ins. Co., 463 U.S. 29,

   43 (1983), the Rule is arbitrary and capricious.

         Sixth, ED disregarded schools’ reasonable reliance interests when

   promulgating the Rule. For instance, the agency glossed over the changes to

   longstanding policies, practices, and facilities that schools would need to undertake

   to comply with the Rule while respecting the privacy and safety of all students.

   Schools adopted existing policies and practices and built expensive facilities based

   on ED’s prior positions—for example, building communal restrooms and locker




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   rooms rather than single-occupant facilities. Ex. A ¶ 3. The failure to consider

   reliance interests renders the Rule arbitrary. Regents, 140 S. Ct. at 1910–13.

          Finally, the agency failed to consider alternative policies, such as (1) creating

   rules to protect privacy and girls’ equal access to athletic programs and physical

   education; (2) grandfathering existing categories of programs and practices covered

   by Title IX; or (3) creating or expanding existing exemptions for those with privacy

   or safety concerns or other reliance on past policies. See id. at 1913.

   II.    The school board will be irreparably harmed by the Rule.

          The school board is “likely to suffer irreparable harm in the absence of

   preliminary relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). That

   is the case here. The Rule would force the school board to amend its policies and

   procedures at significant cost. Compliance would require, at a minimum, many

   amendments to existing policies and practices and time spent analyzing and

   discussing the Rule. Ex. A ¶¶ 4–5; Compl. ¶¶ 26–30, 137–54. Compliance would

   take at least 50 hours of the Title IX coordinator’s time, along with consuming

   resources on legal advice and time spent by the school board to consider and adopt

   new policies. Ex. A ¶ 4. Training the school board’s 3,200 employees on the Rule’s

   new requirements, too, would cost the school board millions of dollars in educator

   time. Id. ¶ 5. These harms are irreparable because there is no cause of action or
   waiver of sovereign immunity to recover compliance costs from the federal

   government. See Wages & White Lion, 16 F.4th at 1142; Odebrecht Const., Inc. v.

   Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013). Postponing the

   effective date of the Rule under 20 U.S.C. § 705 would subvert these harms.

   III.   The equities and the public interest favor the school board.

          The court must “balance the harm that would be suffered by the public if the
   preliminary injunction were denied against the possible harm that would result to


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   [the defendants] if the injunction were granted.” Miss. Power & Light Co. v. United

   Gas Pipe Line Co., 760 F.2d 618, 626 (5th Cir. 1985). A preliminary injunction is

   appropriate where the “irreparable harm asserted is the adverse impact … on the

   public,” and the “dominant presence of the public interest” is a “central issue in

   th[e] case.” Id. at 623 (cleaned up).

         Here, the threatened harm to the school board, schoolchildren, staff, and

   families outweighs any harm to the federal government. Loss of federal funds would

   harm the school board’s most underserved students. For example, federal funds are

   used to provide after-school tutoring on campus and at local homeless shelters,

   Ex. A ¶ 10, and to provide bus passes, school uniforms, winter clothes, and hygiene

   kits for students experiencing homelessness, id. ¶ 11. Federal funding is used to

   provide specialized services to English language learners and migratory students.

   Id. ¶ 12. Federal funds also enable the school board to serve children with

   disabilities. For example, the school board uses IDEA funds to provide extended

   school-year programs and special education remediation instruction during the

   summer. Id. ¶ 13. IDEA preschool funding also allows the school board to hire

   professionals dedicated to providing special education for the youngest children,

   including by funding salary and benefits for its special-education preschool teachers
   and nurses. Id. ¶ 14.

         Loss of all federal funds also would inhibit the school board’s ability to recruit

   effective educators and keep school campuses safe. Federal funds are used to

   purchase and maintain security cameras and operate secure single points of entry

   for school campuses, for example. Id. ¶ 16. The school board uses federal funds to

   conduct high-quality professional development for teachers and principals and to

   recruit highly qualified teachers for schools that are low-performing or have a high

   percentage of economically disadvantaged students. Id. ¶ 17. Federal funds are used
   to pay salaries and benefits for of the school board’s pre-kindergarten teachers and


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   have enabled the school board to decrease student-teacher ratios in kindergarten

   through second-grade classrooms. Id. ¶¶ 18–19.

         If the school board lost federal funding, it would have to either cancel these

   programs and services or seek new funding. Id. ¶ 20. Even if new funding could be

   found, programs would likely be shut down in the meantime. Id.

         Defendants will not be prejudiced by temporary relief, which would “simply

   suspend administrative alteration of the status quo” that has existed for fifty years

   under Title IX. Wages & White Lion, 16 F.4th at 1144 (cleaned up). It took ED

   nearly two years to finalize the Rule, and it has been more than three years since

   the President instructed agencies to apply Bostock. The Biden administration can

   hardly object to delay while judicial review is completed. Indeed, the federal

   government regularly consents to using 5 U.S.C. section 705 to delay rules’ effective

   dates. E.g., HHS Services Grants Regulation, 87 Fed. Reg. 31,432 (May 24, 2022)

   (delays over 15 months). Meanwhile, the school board and other institutions will

   keep applying Title IX as it has been understood for the last five decades—based on

   sex, not gender identity—during this litigation. There is no injury to Defendants.

                                      CONCLUSION

         The Court should delay the effective date of the Rule or enter a preliminary
   injunction prohibiting enforcement of the Rule during this litigation. Because the

   relief requested would serve the public interest, the school board asks the Court to

   exercise its discretion not to require a security or bond under Federal Rule of Civil

   Procedure 65(c). See City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d

   1084, 1094 (5th Cir. 1981).




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   Respectfully submitted this 14th day of May, 2024.

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